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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WISCONSIN


JIM OLSON FORD LINCOLN, LLC,
KUNES COUNTRY FORD-LINCOLN, INC.,
LIDTKE MOTORS, INC., and Y & D CORP.
d/b/a DORSCH LINCOLN,
                                                                   Case No. 20-cv-932-jdp
                              Plaintiffs,
v.
FORD MOTOR COMPANY
d/b/a LINCOLN MOTOR COMPANY,

                              Defendant.


                     CIRCUIT RULE 3(c) DOCKETING STATEMENT

       Plaintiffs Jim Olson Ford Lincoln, LLC, Kunes Country Ford-Lincoln, Inc., Lidtke

Motors, Inc., and Y & D Corp., d/b/a Dorsch Lincoln by their undersigned counsel, make the

following docketing statement in accordance with Circuit Rules 3(c) and 28(a).

     I.    Statement Concerning District Court Jurisdiction.

       The district court had jurisdiction over the matter pursuant to 28 U.S.C. § 1332 because

the matter in controversy exceeds $75,000.00, exclusive of interest and costs, and diversity

jurisdiction existed because the plaintiffs and the defendant are citizens of different states. The

defendant Ford Motor Company d/b/a Lincoln Motor Company is a citizen of Delaware and

Michigan because it is a corporation organized under the laws of Delaware with its principal

place of business located in Dearborn, Michigan. (Dkt. 25, Ans. to First Am. Compl., ¶ 13; Dkt.

31-1, Pltfs’ Second Am. Compl, ¶ 6.) The plaintiff Jim Olson Ford Lincoln, LLC is a citizen of

Wisconsin because it is a Wisconsin limited liability company whose members are all citizens of

Wisconsin. (Dkt. 92, Pltfs’ Suppl. Mem., at 1; Dkt. 93, Olson Decl., ¶¶ 5-8.) Jim Olson Ford


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Lincoln, LLC is a wholly owned subsidiary of James Olson Automotive Group, LLC. (Dkt. 92,

Pltfs’ Suppl. Mem., at 1; Dkt. 93, Olson Decl., ¶ 5; Dkt. 42, J. Olson Dep. Sept. 27, 2021, at

11:1-12:25.) James Olson Automotive Group, LLC is a Wisconsin limited liability company that

has a total of three members who are all natural persons domiciled in Wisconsin and thus, are

citizens of Wisconsin. (Dkt. 92, Pltfs’ Suppl. Mem., at 2; Dkt. 93, Olson Decl., ¶¶ 8-9.) Kunes

Country Ford-Lincoln, Inc. is a citizen of Wisconsin because it is a corporation organized under

the laws of Wisconsin with its principal place of business located in Delavan, Wisconsin. (Dkt.

41, T. Fohr Dep., Sept. 29, 2021, at 8:22-9:30; Dkt. 31-1, Pltfs’ Second Am. Compl., ¶ 3.) Lidtke

Motors, Inc. is a citizen of Wisconsin because it is a corporation organized under the laws of

Wisconsin with its principal place of business located in Beaver Dam, Wisconsin. (Dkt. 43, T.

Welch Dep., Sept. 23, 2021, at 8:18-23, 14:25-15:1; Dkt. 31-1, Pltfs’ Second Am. Compl., ¶ 4.)

Y&D Corp., d/b/a Dorsch Lincoln is a citizen of Wisconsin because it is a corporation organized

under the laws of Wisconsin with its principal place of business located in Green Bay,

Wisconsin. (Dkt. 39, D. Dorsch Dep., September 15, 2021, at 13:7-14:20; Dkt. 31-1, Pltfs’

Second Am. Compl., ¶ 5.)

       The district court had jurisdiction over the plaintiffs’ claims arising under Section 2(a)

and Section 2(d) of the federal Robinson-Patman Act (15 U.S.C. §§ 13(a), (d)) pursuant to 28

U.S.C. §§ 1331 and 1337(a), because those claims present a federal question arising under the

antitrust laws of the United States. (Dkt. 25, Ans. to First Am. Compl., ¶¶ 15-16; Dkt. 31-1,

Pltfs’ Second Am. Compl., ¶¶ 8-9.)

       The district court also had supplemental jurisdiction over the plaintiffs’ Wisconsin state

law claims pursuant to 28 U.S.C. § 1367, because those claims are so related to the claims under




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the federal statutes as to form part of the same case or controversy. (Dkt. 25, Ans. to First Am.

Compl., ¶ 17, Dkt. 31-1 Pltfs’ Second Am. Compl., ¶ 10.)

    II.    Statement Concerning Appellate Jurisdiction.

       This appeal is taken from the final judgment dismissing the plaintiffs’ claims entered on

March 1, 2022 (Dkt. 97), and all orders that underlie that judgment including, but not limited to,

the Opinion and Order dated February 28, 2022 (Dkt. 96) entered by the Honorable James D.

Peterson in the District Court for the Western District of Wisconsin. The United States Court of

Appeals for the Seventh Circuit has jurisdiction to decide this case pursuant to 28 U.S.C. § 1291.

The plaintiffs filed their notice of appeal with the district court on March 28, 2022, concurrent

with this docketing statement.

   III.    Corporate Information.

       Defendant Ford Motor Company d/b/a Lincoln Motor Company is a Delaware

corporation with its principal place of business in Dearborn, Michigan. Plaintiff Jim Olson Ford

Lincoln, LLC is a Wisconsin limited liability company with its principal place of business in

Sturgeon Bay, Wisconsin, whose members are all citizens of Wisconsin. Plaintiff Kunes Country

Ford-Lincoln, Inc. is a Wisconsin corporation with its principal place of business in Delavan,

Wisconsin. Plaintiff Lidtke Motors, Inc. is a Wisconsin corporation with its principal place of

business in Beaver Dam, Wisconsin. Plaintiff Y&D Corp., d/b/a Dorsch Lincoln is a Wisconsin

corporation with its principal place of business in Green Bay, Wisconsin.

    IV.    Official Capacity.

       No parties are being sued in an official capacity.

     V.    Prior or Related District Court Proceedings.

       There are no prior or related district court proceedings.



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VI.   Prior or Related Appellate Court Proceedings.

  There are no prior or related appellate proceedings.



  DATED: March 28, 2022.



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